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     E-mail: imblaw@pacbell.net
 4
 5   Attorney for Defendant
     MICHELLE CHAU NGOC LE
 6
 7
                            UNITED STATES DISTRICT COURT
 8
                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10
11
     UNITED STATES OF AMERICA,                 ) Case No.: 2:05-CR-542-GEB
12                                             )
                             Plaintiff,        )
13
                                               ) STIPULATION AND ORDER TO
14   v.                                        ) CONTINUE SENTENCING DATE
                                               )
15   MICHELLE CHAU NGOC LE,                    )
                                               )
16
                             Defendant,        )
17                                             )
     __________________________________________)
18
19
20          Plaintiff UNITED STATES OF AMERICA, by and through its counsel of record,

21   Assistant United States Attorney Matthew Stegman and Defendant MICHELLE CHAU NGOC
22
     LE, by and through her attorney, I. Mark Bledstein, hereby stipulate as follows:
23
            Defendant MICHELLE CHAU NGOC LE is currently set for sentencing on April 8,
24
     2011. By this stipulation, defense moves to continue the sentencing date from April 8, 2011 at
25
     9:00 A.M. to May 20, 2011 at 9:00 A.M.
26
     //
27
     //
28



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 1          Counsel for defendant MICHELLE CHAU NGOC LE will be setting up a safety valve
 2
     meeting with the government for Defendant LE in the upcoming weeks. Upon determination
 3
     of defendant’s eligibility for a safety valve, counsel will adequately be able to file any
 4
     objections to the government’s position.
 5
 6          Due to the anticipation of a safety valve meeting, it would be unreasonable to expect

 7   adequate preparation of defendant’s sentencing position within the current time limit set on
 8
     April 8, 2011. A continuance to May 20, 2011 should provide sufficient time to complete the
 9
     safety valve meeting and prepare and file sentencing papers after the safety-valve proffer is
10
11   conducted.

12          Based on the above, defense stipulate and request to continue sentencing date from
13   April 8, 2011 to May 20, 2011 at 9:00 A.M.
14
            IT IS SO STIPULATED.
15
16
17
18
     Dated: March 28, 2011
19                                                  Respectfully submitted,
20
21                                                  /s/ I. Mark Bledstein
                                                    __________________________________
22                                                  I. MARK BLEDSTEIN
23                                                  Attorney for Defendant
                                                    MICHELLE CHAU NGOC LE
24
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 1   Dated: March 28, 2011              MCGREGOR W. SCOTT
                                        United States Attorney
 2
 3
                                        /s/ I. Mark Bledstein for
 4                                      __________________________________
                                        MATTHEW C. STEGMAN
 5
                                        Assistant United States Attorney
 6                                      Attorney’s for Plaintiff
                                        United States of America
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 1                                                       ORDER
 2
 3   IT IS SO ORDERED:
 4   Date: 3/30/2011
 5
 6                                                                _________________________
                                                                  GARLAND E. BURRELL, JR.
 7                                                                United States District Judge
 8
     DEAC_Signature-END:




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